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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES − GENERAL


   Case No.       2:19−cv−02446−PSG−AGR                            Date    5/13/2019

   Title          ALEJANDRO ODEH−LARA V. SYNCHRONY BANK


   Present:        The Honorable           Philip S. Gutierrez, United States District Judge

                     Wendy Hernandez                                           Not Reported
                      Deputy Clerk                                        Court Reporter/Recorder

               Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                        Not Present                                            Not Present

  Proceedings (In Chambers):          ORDER TO SHOW CAUSE RE LACK OF PROSECUTION

       IT IS HEREBY ORDERED that counsel/party show cause in writing on or before June 3, 2019 why this
  action should not be dismissed for lack of prosecution. The Court will consider the filing of the following as an
  appropriate response to this Order to Show Cause. Failure to respond in writing, may result in the dismissal of
  the entire action.

           Plaintiff to file Proof of Service of Summons and Complaint.
   X       Defendant to file a Response to Complaint (Amended Complaint) along with Notice of Interested
           Parties pursuant to Local Rule 7.1-1 OR Plaintiff to file a Request for Entry of Default.
           REMOVALS: Defendant to file copy of Response filed in state court with proper title page, as
           instructed on the Court’s Standing Order, along with a Notice of Interested Parties (if not already
           filed) pursuant to Local Rule 7.1-1 OR Plaintiff to file a Request for Entry of Default.
           Plaintiff to file a Request to Clerk for Entry of Default Judgment.
           Plaintiff to file a Motion for Entry of Default Judgment.

       Pursuant to Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7.15, oral argument will not
  be heard in this matter unless so ordered by the Court.

       Pursuant to Local Rule 5-4.5, one mandatory chambers copy of every electronically filed document must
  be delivered no later than 12:00 p.m. on the following business day. Further, the mandatory chambers copy
  shall comply with Local Rule 11-3.

                                                                                               Initials of Preparer: wm




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